This is an action by the state to recover of defendant, a corporation, the franchise tax for the year 1911. The suit was filed March 30, 1921. The defendant pleads the statutes of three, five, and six years limitations. Demurrers to each were sustained by the trial court.
It is an action for debt due the state. The amount claimed is liquidated — capable of being accurately stated. The Court of Appeals in the majority opinion correctly held that the Legislature intended for section 4835 of the Code of 1907 to apply to the state as well as individuals and corporations in actions of this kind. We can reach no other conclusion, when this section is read and construed in connection with sections 4830, 4831, 4832, and 2260 of the Code of 1907. Hence this cause of action is barred by the statute of limitations of six years, and the demurrers to this plea were improperly sustained.
SAYRE, J., dissents, and concurs in the views of MILLER, J.